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 Fill in this information to identify your case:
 Debtor 1               Trawna Nichole McFadden                                                                        Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 18-03353
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          12/17

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                           claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in               Included                  Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included                  Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                  Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                            Included                  Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$875.00 per Month for 60 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


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2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment):
                      Db will enroll in TFS Bill pay.

2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          3.1(a) The debtor is not in default and will maintain the current contractual installment payments on the secured claims listed
                          below, with any changes required by the applicable contract and noticed in conformity with any applicable rules. These
                          payments will be disbursed directly by the debtor.

 Name of Creditor                                                       Collateral
 Charleston Area Comm Dev Corp                                          9226 Southern Oak Lane Ladson, SC 29456 Dorchester County
                                                                        tax map162-02-01-176-000-C
                                                                        purchased 7/13/2009 for $162,000
                                                                        value based on county tax assessor site
 United States of America through                                       9226 Southern Oak Lane Ladson, SC 29456 Dorchester County
                                                                        tax map162-02-01-176-000-C
                                                                        purchased 7/13/2009 for $162,000
                                                                        value based on county tax assessor site
Insert additional claims as needed.

                          3.1(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                          with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                          payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                          the creditor’s allowed claim or as otherwise ordered by the Court.




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    Name of Creditor              Collateral                                              Estimated amount of        Interest rate on Monthly payment on
                                                                                          arrearage                  arrearage        arrearage
                                                                                                                     (if applicable)
                                  9226 Southern Oak Lane Ladson, SC
                                  29456 Dorchester County
    Tranquil Hill                 tax map162-02-01-176-000-C
    Community                     purchased 7/13/2009 for $162,000
    Association                   value based on county tax assessor
    Inc                           site                                                            $33,095.13                 0.00%                              $552.00
                                                                                          Includes amounts                              (or more)
                                                                                          accrued through the
                                                                                          July 2018 Payment

Insert additional claims as needed.


                             3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                             accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                             between this document and the Operating Order, the terms of the Operating Order control.

                             3.1(d) The debtor proposes to engage in loss mitigation efforts with Carrington Mortgage Services LLC according to the
                             applicable guidelines or procedures of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if
                             applicable.

                             Insert additional claims as needed
                             3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                             Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                              Insert additional claims as needed

   3.2          Request for valuation of security and modification of undersecured claims. Check one.

                             None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

   3.3          Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

                Check one.
                        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                        The claims listed below are being paid in full without valuation or lien avoidance.

                             These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                             the trustee or directly by the debtor, as specified below. Holders of secured claims shall retain liens to the extent provided by 11
                             U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                             reasonable time.

    Name of Creditor                    Collateral                             Estimated amount of claim Interest rate            Estimated monthly payment
                                                                                                                                  to creditor

                                        2014 Toyota Camry 115,559
                                        miles
                                        VIN: 4T1BF1FK7EU359024
                                        value based on NADA clean
                                        retail value
                                        2014 Toyota Camry 4dr Sdn I4
    Credit Acceptance                   auto L FWD 4 cyl eng                                 $7,373.27               6.00%                                  $142.55
                                                                                                                                  (or more)

                                                                                                                                  Disbursed by:
                                                                                                                                     Trustee
                                                                                                                                     Debtor

   Insert additional claims as needed.
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3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                          The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                          priority claim without further amendment of the plan.

                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO
                                        recipient), at the rate of $      or more per month until the balance, without interest, is paid in full. Add additional
                                        creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

              Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata basis. If funds are
available, the trustee is authorized to pay on any allowed priority claim without further amendment of the plan.

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4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.


Insert additional claims as needed.

 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the appliable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

8.1(a) Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack thereof, in a proof of
         claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of action the debtor may have,

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             regarding any issues not specifically addressed or determined by the plan, against any creditor or other party in interest including, but not
             limited to, violations of applicable consumer protections codes and actions under 11 U.S.C. §§ 542, 543, 544, 547 and 548.

8.1.(b)      Debtor understands the following: (1) The obligations set forth in the plan, including the amount, method, and timing of payments made to
             the Trustee or directly to creditors; (2) The consequences of any default under the Plan; and (3) That debtor(s) may not agree to sell or sell
             property, employ professionals, incur debt (including modification of debt), or request or agree to mortgage modification or other loss
             mitigation during the pendency of the case without the advance authorization of the Bankruptcy Court.

8.1 (c)

The Debtor(s)' plan relies upon loss mitigation or a consensual mortgage loan modification (LM/MM) via the portal process set forth in Chambers'
Guidelines of the mortgage loan secured by the following property:

                                    9226 Southern Oak Lane, Ladson, SC 29456, Dorchester County, tax map 162-02-01-176-000-C

Debtor(s) will file a Notice and Motion for Loss Mitigation/Mortgage Modification within 21 days after the filing of this initial plan. If LM/MM is
approved, the Debtor(s) shall directly pay Carrington Mortgage Services LLC's allowed claim, including any pre-petition and post-petition amounts.
No payment will be made by the Trustee on this secured claim.

In the event the (1) the LM/MM request (and necessary documentation is not submitted or is denied or (2) the Debtor(s) fail to timely make required
Trial Period Payments, after 14 days' written notice of the Creditor's intent to seek relief from the stay to the Debtor(s), Debtor(s)' Counsel, and the
Trustee, the Mortgage Creditor may submit an affidavit and proposed order seeking relief from the stay. However, the Mortgage Creditor may not
obtain the relief until its final consideration of LM/MM is concluded and reported to the Debtor(s) and Debtor(s)' Counsel.



 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Trawna Nichole McFadden                                             X
       Trawna Nichole McFadden                                                        Signature of Debtor 2
       Signature of Debtor 1

       Executed on            July 11, 2018                                           Executed on

 X     /s/ David C. Gaffney                                                    Date     July 11, 2018
       David C. Gaffney 10112
       Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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